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          EXHIBIT B
                     PART 1 OF 3
Case 1:23-cr-00251-AKH   Document 381-3   Filed 04/25/25   Page 2 of 71




      U.S. vs. Charlie Javice
        and Olivier Amar


              Charlie Javice Closing
                March 26, 2025
            Unreliable      Testimony Of Leslie Wims Morris
                Case 1:23-cr-00251-AKH Document 381-3 Filed 04/25/25 Page 3 of 71




    DIRECT EXAMINATION                  0           13           CROSS EXAMINATION

               10           15                                    10          15




    5                               20                   5                             20




        0                          25                        0                        25


             DON’T RECALL METER                                  DON’T RECALL METER



2                                                                                          © 2025 DOAR
            Unreliable        Testimony Of Sarah Youngwood
                Case 1:23-cr-00251-AKH Document 381-3 Filed 04/25/25 Page 4 of 71




    DIRECT EXAMINATION                  3           21           CROSS EXAMINATION

              10            15                                    10          15




    5                               20                   5                             20




        0                          25                        0                        25


            DON’T RECALL METER                                   DON’T RECALL METER



3                                                                                          © 2025 DOAR
              Unreliable          Testimony Of Alex Sweeney
                Case 1:23-cr-00251-AKH Document 381-3 Filed 04/25/25 Page 5 of 71




    DIRECT EXAMINATION                  0             18           CROSS EXAMINATION

             10            15                                       10          15




    5                               20                     5                             20




        0                          25                          0                        25


            DON’T RECALL METER                                     DON’T RECALL METER



4                                                                                            © 2025 DOAR
         The Merger
                 Case Contract
                      1:23-cr-00251-AKHDefined     Many
                                        Document 381-3 Filed Terms,     But
                                                             04/25/25 Page       Not Users
                                                                           6 of 71

     The Contract           LionTree           GX3.1.4            Users         Leslie Wims Morris




GX2000
5                                                                                           © 2025 DOAR
         The Merger
                 Case Contract
                      1:23-cr-00251-AKHDefined     Many
                                        Document 381-3 Filed Terms,     But
                                                             04/25/25 Page       Not Users
                                                                           7 of 71

     The Contract           LionTree           GX3.1.4            Users         Leslie Wims Morris




GX2000
6                                                                                           © 2025 DOAR
                No Reliance         On Outside
                   Case 1:23-cr-00251-AKH             Reps
                                          Document 381-3       And Warranties
                                                         Filed 04/25/25 Page 8 of 71

     The Contract           LionTree           GX3.1.4             Users          Leslie Wims Morris




GX2000
7                                                                                             © 2025 DOAR
                No Reliance         On Outside
                   Case 1:23-cr-00251-AKH             Reps
                                          Document 381-3       And Warranties
                                                         Filed 04/25/25 Page 9 of 71

     The Contract           LionTree           GX3.1.4             Users          Leslie Wims Morris




GX2000
8                                                                                             © 2025 DOAR
         JPMC Explicitly       Disclaimed
              Case 1:23-cr-00251-AKH             Outside
                                     Document 381-3             Representations
                                                    Filed 04/25/25 Page 10 of 71

     The Contract       LionTree          GX3.1.4           Users        Leslie Wims Morris




1                              3                           5




2




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GX2000
9                                                                                    © 2025 DOAR
         JPMC Formed       An Independent
                Case 1:23-cr-00251-AKH Document 381-3 Judgment         Before
                                                       Filed 04/25/25 Page 11 of 71 Signing

     The Contract           LionTree           GX3.1.4             Users         Leslie Wims Morris




GX2000
10                                                                                           © 2025 DOAR
                      The Merger Agreement
                    Case 1:23-cr-00251-AKH         Protected
                                 Document 381-3 Filed               PII
                                                      04/25/25 Page 12 of 71

     The Contract           LionTree         GX3.1.4             Users         Leslie Wims Morris




GX2000
11                                                                                         © 2025 DOAR
                     JPMC Had Access     To All
                    Case 1:23-cr-00251-AKH
                               Document 381-3 Filed Information
                                                    04/25/25 Page 13 of 71

     The Contract           LionTree         GX3.1.4           Users         Leslie Wims Morris




GX2000
12                                                                                       © 2025 DOAR
                                       Entire
                    Case 1:23-cr-00251-AKH     Agreement
                                          Document 381-3 Filed 04/25/25    Page 14 of 71

     The Contract           LionTree              GX3.1.4                 Users            Leslie Wims Morris




GX2000
13                                                                                                     © 2025 DOAR
                                   MissingDocument
                                            Men381-3
                       Case 1:23-cr-00251-AKH      Of LionTree
                                                      Filed 04/25/25 Page 15 of 71

        The Contract           LionTree            GX3.1.4            Users          Leslie Wims Morris




CJ569
14                                                                                               © 2025 DOAR
                                   MissingDocument
                                            Men381-3
                       Case 1:23-cr-00251-AKH      Of LionTree
                                                      Filed 04/25/25 Page 16 of 71

        The Contract           LionTree            GX3.1.4            Users          Leslie Wims Morris




CJ569
15                                                                                               © 2025 DOAR
                                                                                      The Wayback
                                                                                           Document 381-3 Machine
                                                                        Case 1:23-cr-00251-AKH             Filed 04/25/25 Page 17 of 71

      The Contract                                                              LionTree             GX3.1.4                                                     Users               Leslie Wims Morris

                               Jan. 21, 2021                                                                                          Feb. 22, 2021
          J.P. Morgan | Official
          Website                  x   +
         https://web.archive.org/web/20210121203706/https://withfrank.org/
                                                                                                                  J.P. Morgan | Official
                                                                                                                  Website                  x   +
                                                                                                                 https://web.archive.org/web/20210222193947/https://withfrank.org/




GX215; GX216
16                                                                                                                                                                                               © 2025 DOAR
                            Matt GlazerDocument
                                        Reviewed
                       Case 1:23-cr-00251-AKH             Everything
                                                381-3 Filed 04/25/25 Page 18 of 71

        The Contract           LionTree           GX3.1.4             Users          Leslie Wims Morris


                                          Jennifer Wong Testimony




Trial Tr. 1219:9-17
17                                                                                               © 2025 DOAR
     Comfortable Case
                 With     The 4.2 Number
                      1:23-cr-00251-AKH Document And
                                                 381-3 Verified
                                                       Filed 04/25/25It On
                                                                        Page Google
                                                                             19 of 71 Analytics
       The Contract         LionTree           GX3.1.4             Users          Leslie Wims Morris




                                  Jennifer Wong Testimony




Trial Tr. 1170:20-25
18                                                                                            © 2025 DOAR
         We Always
                Case Made       Sure Document
                     1:23-cr-00251-AKH Our Numbers           Were
                                              381-3 Filed 04/25/25   Substantiated
                                                                   Page 20 of 71

        The Contract      LionTree         GX3.1.4          Users        Leslie Wims Morris




                                Jennifer Wong Testimony




Trial Tr. 1171:9-12
19                                                                                   © 2025 DOAR
           He UsesCase
                   Customer,           User,
                       1:23-cr-00251-AKH      Accounts
                                         Document               All Interchangeably
                                                  381-3 Filed 04/25/25 Page 21 of 71

       The Contract              LionTree    GX3.1.4           Users        Leslie Wims Morris


                                                  Marc Rowan Testimony




Trial Tr. 3036:10-20, 3039:1-3
20                                                                                      © 2025 DOAR
 At Board Meetings     And Always
            Case 1:23-cr-00251-AKH       Reported
                                   Document               The Numbers
                                            381-3 Filed 04/25/25 Page 22 of 71 Accurately
        The Contract     LionTree          GX3.1.4           Users         Leslie Wims Morris


                            Behram Panthaki Testimony




Trial Tr. 477:2-478:8
21                                                                                     © 2025 DOAR
                                       LionTree
                    Case 1:23-cr-00251-AKH DocumentDisclaimer
                                                   381-3 Filed 04/25/25    Page 23 of 71

     The Contract           LionTree               GX3.1.4                Users            Leslie Wims Morris




GX1590
22                                                                                                     © 2025 DOAR
     Everyone Knew
                CaseThe    Difference
                    1:23-cr-00251-AKH    Between
                                      Document       Students
                                               381-3 Filed          And24FAFSA
                                                           04/25/25 Page of 71 Students
        The Contract       LionTree         GX3.1.4          Users        Leslie Wims Morris

                                       1


                                       2


                                       3




                                       2

                                                                3

                   1                   4

                                                                 5



                                               6

GX1.1
23                                                                                    © 2025 DOAR
                    JPMC    Knew FrankDocument
                       Case 1:23-cr-00251-AKH Had381-3
                                                  300,000-500,000             Users
                                                       Filed 04/25/25 Page 25 of 71

      The Contract             LionTree          GX3.1.4           Users         Leslie Wims Morris




GX1.1; GXCAP1.4.3
24                                                                                           © 2025 DOAR
                                   LionTree
                     Case 1:23-cr-00251-AKH  Did
                                        Document 381-3The
                                                        FiledMath
                                                             04/25/25 Page 26 of 71

     The Contract            LionTree               GX3.1.4             Users         Leslie Wims Morris




            650,000                                $22,000                  ~$14,000,000,000
            full accounts                     average aid per student            tuition savings
GX3002
25                                                                                                 © 2025 DOAR
            Asked What     650K Number
                  Case 1:23-cr-00251-AKH Document Was   And
                                                  381-3 Filed     Never
                                                              04/25/25      Heard
                                                                       Page 27 of 71 Back
       The Contract           LionTree          GX3.1.4            Users         Leslie Wims Morris


                                         Houston Cowan Testimony




Trial Tr. 263:22-264:7
26                                                                                           © 2025 DOAR
                                              Corrected
                         Case 1:23-cr-00251-AKH Document 381-3 Deck
                                                                Filed 04/25/25    Page 28 of 71

        The Contract               LionTree             GX3.1.4                  Users            Leslie Wims Morris




        $11,000,000,000                               ~$22,000                                500,000
             total financial aid                        per person                            full accounts
GX1.1
GX1-1
27                                                                                                            © 2025 DOAR
                    Case 1:23-cr-00251-AKH   Do  The381-3
                                             Document  Math
                                                          Filed 04/25/25    Page 29 of 71

     The Contract           LionTree                GX3.1.4                Users            Leslie Wims Morris




GX1438
28                                                                                                      © 2025 DOAR
                       Case 1:23-cr-00251-AKH   Do  The381-3
                                                Document  Math
                                                             Filed 04/25/25    Page 30 of 71

      The Contract             LionTree                GX3.1.4                Users             Leslie Wims Morris


                                                     GX1438




           11,000,000                              4,200,000                                   2.619
                page views                              users                         page views per user

GX1438; GX1.8
29                                                                                                          © 2025 DOAR
                         Case 1:23-cr-00251-AKH   Do  The381-3
                                                  Document  Math
                                                               Filed 04/25/25    Page 31 of 71

      The Contract                LionTree               GX3.1.4                Users            Leslie Wims Morris


                         GX1.8                                     GX1438
     PAGE 1                   PAGE 2




     PAGE 3                   PAGE 4




                     4                               4,200,000                           16,800,000
     page views per FAFSA user                            users                              page views

GX1438; GX1.8
30                                                                                                           © 2025 DOAR
                                                                              Case 1:23-cr-00251-AKH         Couldn’t Recall     TheFiled
                                                                                                                      Document 381-3   Definition
                                                                                                                                          04/25/25 Page 32 of 71

             The Contract                                                                                          LionTree                                                   GX3.1.4        Users     Leslie Wims Morris



                                                        GX3011-A                                                                                                                    Houston Cowan Testimony

                                                                                                Default Channel Grouping


     Year            Month of the year      All New Users        Paid Users Non-Paid Users               (Other)           Direct           Display             Email Org
                                      3           90,492             10,665         79,827                  882            5,625                 5               337
                                      4           71,589             16,800         54,789                  744            9,582               613               178
                                      5           52,538              3,385         49,153                  641            5,784               503               119
                                      6          391,218                152       391,066                31,837          227,746                 1             2,982
                                      7          127,063                 86       126,977                11,739           31,337                               4,184
                                      8          103,712                 52       103,660                 4,039           12,226                                 794
                                      9           88,623                 29         88,594                2,840            9,619                               1,547
                                    10           120,300                 65       120,235                 7,048           10,850                               4,944
                                    11            74,031                 20         74,011                2,605            7,558                                 867
                                    12            63,513              1,045         62,468                1,429            5,020               292               329
                2021                  1           88,236             10,165         78,071                1,322            4,074             6,490               152
                                      2           57,564              4,137         53,427                  496            3,089             3,679                66
                                      3           65,109                951         64,158                  480            6,192                13             2,156
                                      4          103,823             38,869         64,954                1,169            7,863             9,384             1,342
                                      5          128,467             66,329         62,138                3,551            7,275            42,481             1,357
                                     6            94,679             40,768         53,911                2,299            6,194            10,396             1,189
     Projections                     7           214,466            24,000        190,466
                                     8           205,856            40,000        165,856
                                     9           345,782            80,000        265,782
                                    10           930,000           130,000        800,000
                                    11           700,000           100,000        600,000
                                    12           310,000            60,000        250,000
                Grand Total to Date            5,424,449         2,334,184         3,090,265             96,914          690,152           148,611            42,629
                     2021 Projections           8,130,553         2,768,184         5,362,369

                     Notes                2021 Non-Paid is dependent on SLM, Instride, ACT, Wiley accounts. Pipeline is Addiditive As Contracts Come In. Product mix
                                          2021 Paid spend is classfinder in Q1 of 2021 testing. Classfinder accounts created upon credit card entry. This is a different CA
                                          2019 - Q1 2020 Spend is to optimize for different segments around college recommendations (nursing students only above the
                                          2017 - Jan 2018 Burst testing to test the scale, paid marketing costs at scale, positioning & brand building as we invested in co
                                          2020 - accounts added accross products




GX3011-A; Trial Tr. 288:5-7
31                                                                                                                                                                                                                 © 2025 DOAR
                       Can’t     Answer What
                        Case 1:23-cr-00251-AKH DocumentAll
                                                       381-3New     UsersPage
                                                             Filed 04/25/25 Means
                                                                              33 of 71

       The Contract             LionTree            GX3.1.4             Users            Leslie Wims Morris


                                      Alex Sweeney Testimony




Trial Tr. 1499:18-25
32                                                                                                   © 2025 DOAR
                          “Keep Feeding
                                   DocumentThe
                    Case 1:23-cr-00251-AKH 381-3 Data      Room”
                                                 Filed 04/25/25 Page 34 of 71

     The Contract           LionTree           GX3.1.4           Users          Leslie Wims Morris




GX3010
33                                                                                          © 2025 DOAR
                    Case 1:23-cr-00251-AKH   18Document
                                                 Months-ish
                                                        381-3 Filed 04/25/25    Page 35 of 71

     The Contract           LionTree                  GX3.1.4                  Users            Leslie Wims Morris




GX3009
34                                                                                                          © 2025 DOAR
                    GX3012-A:        All New
                      Case 1:23-cr-00251-AKH    Users
                                             Document 381-3 =Filed
                                                              FAFSA04/25/25 In  Process
                                                                             Page 36 of 71

     The Contract                    LionTree                     GX3.1.4                     Users                Leslie Wims Morris




                      A                 B                C                  D                  E                    Q
            1
            2                              Product Mix Attribution - 1st Capture Point with Frank
            3 Year      Month of the year                                                   All New Users    FAFSA In Process
            4      2017                    3      TRUE                      8,658                    8,658            8,658
            5                              4      TRUE                    119,490                 119,490           119,490
            6                              5      TRUE                   150,274                  150,274           150,274
            7                              6      TRUE                   158,263                  158,263           158,263
            8                              7      TRUE                   158,920                  158,920           158,920
            9                              8      TRUE                     17,904                  17,904            17,904
           10                              9      TRUE                     41,215                  41,215            41,215
           11                             10      TRUE                   303,130                  303,130           303,130
           12                             11      TRUE                   271,780                  271,780           271,780
           13                             12      TRUE                    115,194                 115,194           115,194
           14      2018                    1      TRUE                   310,381                  310,381           310,381
                                                                           98,759                  98,759
GX3012-A
           15                              2      TRUE                                                               98,759
35                                                                                                                              © 2025 DOAR
                           Monthly Breakdown
                     Case 1:23-cr-00251-AKH         By04/25/25
                                    Document 381-3 Filed Product
                                                               Page 37 of 71

      The Contract           LionTree          GX3.1.4           Users         Leslie Wims Morris




GX3011; GX3011-A
36                                                                                         © 2025 DOAR
                            Looking At Different
                    Case 1:23-cr-00251-AKH
                                    Document           Columns
                                             381-3 Filed 04/25/25 Page 38 of 71

     The Contract           LionTree            GX3.1.4            Users          Leslie Wims Morris




GX3013
37                                                                                            © 2025 DOAR
                                       Cowan Never
                              Case 1:23-cr-00251-AKH   Called
                                              Document 381-3       Charlie
                                                             Filed 04/25/25 Page 39 of 71

       The Contract                   LionTree            GX3.1.4            Users          Leslie Wims Morris




                                                                    Houston Cowan Testimony




GX3013; Trial Tr. 304:16-22
38                                                                                                      © 2025 DOAR
                    The File   Name Did Document
                        Case 1:23-cr-00251-AKH Not Change       But It Page
                                                    381-3 Filed 04/25/25 Was40 ofEdited
                                                                                 71

      The Contract                                                       LionTree                                          GX3.1.4                           Users                                Leslie Wims Morris



                                        GX3011-A                                                                                                             GX3012-A

                 Mark eting Spend     Product Mix Attribution - 1st Capture Point with Frank                                                                                               Mark eting Spend     Product Mix Attribution


                                                                FAFSA
           Social Google & Bing PPC    FAFSA In Process Completion Rate          Scholarships   Classfinder   Aid Appeal             Email Organic Search   Paid Search   Referral   Social Google & Bing PPC    FAFSA In Process C
              112            $7,456               8,658          0.00%                                                                                221         7,186        87       112            $7,456               8,658
           15,515         $111,219              119,490         30.73%                                                                                554        95,187       146    15,515         $111,219              119,490
            2,306         $155,005              150,274         28.53%                                                                 455            890       140,021       223     2,306         $155,005              150,274
              866         $170,956              158,263         31.25%                                                                 123            808       147,882       528       866         $170,956              158,263
                                                                                                                                     1,104          1,068       145,099    1,555        370         $166,897              158,920




                                                           FAFSA In Process
              370         $166,897              158,920         30.86%
               64           $24,919              17,904         31.57%                                                               3,602            828        10,601       379        64           $24,919              17,904
              328           $26,146              41,215         26.75%                                                               2,820            922        22,600    3,110        328           $26,146              41,215
              873         $214,663              303,130         29.81%                                                               2,278          3,161       236,112    5,061        873         $214,663              303,130
              372         $190,536              271,780         24.85%                                                                 443          3,379       224,204       999       372         $190,536              271,780
              234           $71,135             115,194         22.96%                                                                 163          3,657        91,659       882       234           $71,135             115,194
              514         $220,979              310,381         23.95%                                                               1,959          5,829       234,243    3,539        514         $220,979              310,381
              446           $63,504              98,759         25.29%                                                               1,030          6,069        66,795       793       446           $63,504              98,759
              432           $42,532              35,872         37.76%                                                                 375         10,597        14,422       731       432           $42,532              35,872
              283              $355              17,616         42.18%                                                                 229         12,592           442       670       283              $355              17,616
              245              $150              16,264         40.61%                                                                  73         12,909           214       540       245              $150              16,264
              384                $0              14,993         48.83%                                                                  56         11,667           138       669       384                $0              14,993
              242                $0              18,961         33.92%                                                                  53         15,675            84       732       242                $0              18,961
              285           $16,104              36,632         29.74%                                                               1,035         25,920         4,929       828       285           $16,104              36,632
              299           $54,824              58,963         21.85%                                                                 121         27,518        13,723    2,106        299           $54,824              58,963
              613           $59,946              73,234         84.00%                                                                  45         45,760        15,302    3,967        613           $59,946              73,234
              382            $3,985              45,408         79.94%                                                                 144         33,461         5,307    1,276        382            $3,985              45,408
              381            $6,530              47,312         67.52%                                                                  96         33,962         8,456    1,005        381            $6,530              47,312
              382            $6,740              65,914         81.82%                                                                 103         53,981         6,279    1,130        382            $6,740              65,914
              331           $17,406              66,478         61.90%                                                                 136         40,661        14,969       789       331           $17,406              66,478
              368           $26,088              68,628         70.97%                                                                 155         43,421        16,773    1,734        368           $26,088              68,628
              453           $30,337              78,191         69.28%                                                                 276         48,016        19,441    1,505        453           $30,337              78,191
              315           $41,112              85,573         65.10%                                                                 113         53,799        23,724       706       315           $41,112              85,573
              494           $45,602              87,433         61.62%                                                                 731         44,355        30,158       758       494           $45,602              87,433




GX3011-A; GX3012-A
39                                                                                                                                                                                                                                 © 2025 DOAR
                           FAFSA In Process
                                    Document 381-3 =Filed
                     Case 1:23-cr-00251-AKH          “On       Page”
                                                          04/25/25 Page 41 of 71

      The Contract           LionTree           GX3.1.4             Users          Leslie Wims Morris




GX802-71
40                                                                                             © 2025 DOAR
                                          FAFSA
                       Case 1:23-cr-00251-AKH      In381-3
                                             Document  Process
                                                           Filed 04/25/25    Page 42 of 71

        The Contract           LionTree              GX3.1.4                Users            Leslie Wims Morris




GX1.1
41                                                                                                       © 2025 DOAR
                                                Value
                           Case 1:23-cr-00251-AKH      Of
                                                 Document    Frank
                                                          381-3 Filed 04/25/25    Page 43 of 71

       The Contract                LionTree              GX3.1.4                 Users
                                                                                 Users            Leslie Wims Morris


                                                     Marc Rowan Testimony




Trial Tr. 3006:19-3007:5
42                                                                                                            © 2025 DOAR
                   “Account”        Only Mentioned
                      Case 1:23-cr-00251-AKH                In Relation
                                             Document 381-3 Filed               Toof 71CAC
                                                                  04/25/25 Page 44

        The Contract            LionTree            GX3.1.4             Users
                                                                        Users          Leslie Wims Morris




GX1.1
43                                                                                                 © 2025 DOAR
                       Capital       One’s Main
                       Case 1:23-cr-00251-AKH DocumentMotivation         Was
                                                      381-3 Filed 04/25/25 Page CAC
                                                                                45 of 71

       The Contract            LionTree              GX3.1.4              Users
                                                                          Users            Leslie Wims Morris




                                      Mason Young Testimony




Trial Tr. 2126:21-24
44                                                                                                     © 2025 DOAR
                                   It’s AllDocument
                     Case 1:23-cr-00251-AKH About   381-3The
                                                          FiledCAC
                                                               04/25/25    Page 46 of 71

      The Contract           LionTree               GX3.1.4               Users
                                                                          Users            Leslie Wims Morris




           $2,274,934                                $4.45                             511,221
                                              cost per FAFSA account
        total marketing spend                                                        FAFSA accounts
                                              (blended paid & organic)
GX1-1; GXCAP3.1.4
45                                                                                                     © 2025 DOAR
                                               It’s AllDocument
                            Case 1:23-cr-00251-AKH      About   381-3The
                                                                      FiledCAC
                                                                           04/25/25    Page 47 of 71

       The Contract                    LionTree               GX3.1.4                 Users
                                                                                      Users              Leslie Wims Morris




            $2,203,606                                         $0.45                          4,896,902.22
         total marketing spend,                        customer acquisition cost,
                                                                                                       customers
                2017-2020                                     2017-2020
GXCAP3.1.4; GXCAP3.1.4b; Trial Tr. 2205:11-2208:9
46                                                                                                                   © 2025 DOAR
                                  Semrush Estimates
                           Case 1:23-cr-00251-AKH         Out
                                          Document 381-3 Filed     Traffic
                                                               04/25/25 Page 48 of 71

       The Contract                LionTree           GX3.1.4            Users
                                                                         Users          Leslie Wims Morris


                                                          Jennifer Wong Testimony




Trial Tr. 1175:16-1176:5
47                                                                                                  © 2025 DOAR
                                Access To  Google
                       Case 1:23-cr-00251-AKH
                                       Document        Analytics
                                                381-3 Filed 04/25/25 Page 49 of 71

        The Contract           LionTree           GX3.1.4             Users
                                                                      Users          Leslie Wims Morris




                                      Jen Wong Testimony




Trial Tr. 1284:2-7
48                                                                                               © 2025 DOAR
                       6 Or  71:23-cr-00251-AKH
                          Case Meetings About             Privacy
                                                Document 381-3          Policy
                                                               Filed 04/25/25 Page Update
                                                                                   50 of 71

        The Contract              LionTree            GX3.1.4             Users
                                                                          Users           Leslie Wims Morris



                                      Jenny Zeitler Testimony




Trial Tr. 3073:6-12
49                                                                                                    © 2025 DOAR
Worked With Case
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                 1:23-cr-00251-AKH DocumentAnd
                                            381-3 Sent     Policy
                                                  Filed 04/25/25 PageTo
                                                                      51 of400K
                                                                           71   Students
        The Contract   LionTree           GX3.1.4           Users
                                                            Users         Leslie Wims Morris




                          Jenny Zeitler Testimony




Trial Tr. 3072:9-14
50                                                                                    © 2025 DOAR
             PrivacyCase
                     Policy       EmailsDocument
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                                                       Filed 04/25/25 Of   Thousands
                                                                      Page 52 of 71

        The Contract         LionTree         GX3.1.4           Users
                                                                Users        Leslie Wims Morris



                                   Jennifer Wong Testimony




Trial Tr. 1188:1-10
51                                                                                       © 2025 DOAR
                      Opt Case
                          Out     Email Was
                               1:23-cr-00251-AKH    Sent381-3
                                                 Document In September/October
                                                              Filed 04/25/25 Page 53 of 71

        The Contract              LionTree           GX3.1.4             Users
                                                                         Users         Leslie Wims Morris


                                                        Ryan MacDonald Testimony




Trial Tr. 2382:8-24
52                                                                                                 © 2025 DOAR
                                       Braze Contract
                                             Document 381-3 Renewal
                          Case 1:23-cr-00251-AKH            Filed 04/25/25 Page 54 of 71

       The Contract               LionTree             GX3.1.4              Users
                                                                            Users          Leslie Wims Morris



                                        Jennifer Wong Testimony




Trial Tr. 1190:4-1191:5
53                                                                                                     © 2025 DOAR
                         Grew Users To  The
                       Case 1:23-cr-00251-AKH
                                    Document    Website
                                             381-3              Quickly
                                                   Filed 04/25/25 Page 55 of 71

        The Contract           LionTree             GX3.1.4        Users
                                                                   Users          Leslie Wims Morris



                                                Jennifer Wong Testimony




Trial Tr. 1183:8-20
54                                                                                            © 2025 DOAR
      Charlie Javice     Did Interviews
                Case 1:23-cr-00251-AKH           Stating
                                       Document 381-3         300-400,000
                                                      Filed 04/25/25 Page 56 of 71 Students

        The Contract       LionTree           GX3.1.4            Users
                                                                 Users         Leslie Wims Morris



                               Behram Panthaki Testimony




Trial Tr. 473:5-474:7
55                                                                                         © 2025 DOAR
                            JPMC’s Bio   Of381-3
                    Case 1:23-cr-00251-AKH
                                    Document Charlie     Javice
                                                 Filed 04/25/25 Page 57 of 71

     The Contract           LionTree          GX3.1.4             Users
                                                                  Users         Leslie Wims Morris




GX1591
56                                                                                          © 2025 DOAR
                                       The Government’s
                              Case 1:23-cr-00251-AKH          Hail
                                              Document 381-3 Filed      Mary
                                                                   04/25/25 Page 58 of 71

       The Contract                   LionTree           GX3.1.4             Users
                                                                             Users          Leslie Wims Morris



               Government Opening                                    Marc Rowan Testimony




Trial Tr. 36:11-16, 3039:19-3040:7
57                                                                                                      © 2025 DOAR
                                          First Question,
                                                 Document 381-3 First
                             Case 1:23-cr-00251-AKH                       Lie Page 59 of 71
                                                                Filed 04/25/25

        The Contract                 LionTree             GX3.1.4              Users          Leslie Wims Morris




                                        Leslie Wims Morris Testimony




Trial Tr. 657:5-6; 658:3-5
59                                                                                                       © 2025 DOAR
       LionTree Misled        Leslie Wims
                Case 1:23-cr-00251-AKH           Morris
                                       Document 381-3        (JPMC)
                                                      Filed 04/25/25 Page To
                                                                          60 of Bid
                                                                                71  Higher
       The Contract                LionTree        GX3.1.4       Users         Leslie Wims Morris



                                        Leslie Wims Morris Testimony




Trial Tr. 686:22-687:1, 687:9-11
60                                                                                        © 2025 DOAR
                                Hid Meeting  With
                         Case 1:23-cr-00251-AKH
                                         Document 381-3Jamie       Dimon
                                                         Filed 04/25/25 Page 61 of 71

       The Contract              LionTree            GX3.1.4             Users          Leslie Wims Morris




                                    Leslie Wims Morris Testimony




Trial Tr. 703:25-704:2
61                                                                                                 © 2025 DOAR
          22 Days Later      It ClosedDocument
                  Case 1:23-cr-00251-AKH After381-3
                                                Meeting        With
                                                    Filed 04/25/25 PageJamie
                                                                        62 of 71 Dimon
       The Contract         LionTree           GX3.1.4          Users        Leslie Wims Morris


                                       Leslie Wims Morris Testimony




Trial Tr. 704:24-705:9
62                                                                                      © 2025 DOAR
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                                                 Document Stakes
                                                          381-3 Filed 04/25/25    Page 63 of 71

        The Contract           LionTree                 GX3.1.4                  Users            Leslie Wims Morris




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63                                                                                                           © 2025 DOAR
                         Common Sense   Lies:
                                           381-3 Interest
                       Case 1:23-cr-00251-AKH
                                  Document       Filed 04/25/25 Rates
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        The Contract           LionTree         GX3.1.4           Users         Leslie Wims Morris




                                  Leslie Wims Morris Testimony




Trial Tr. 681:14-16
64                                                                                         © 2025 DOAR
                       JPMC       Wanted Document
                       Case 1:23-cr-00251-AKH Frank381-3
                                                     AndFiledCharlie    Javice
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        The Contract           LionTree            GX3.1.4             Users           Leslie Wims Morris



                             Leslie Wims Morris Testimony




Trial Tr. 700:9-15
65                                                                                                © 2025 DOAR
 Was Not Aware   That Charlie
           Case 1:23-cr-00251-AKH     Javice
                                  Document 381-3 Told      Her Page
                                                 Filed 04/25/25 About
                                                                    66 of 71The Mistake

        The Contract    LionTree          GX3.1.4           Users        Leslie Wims Morris




                          Leslie Wims Morris Testimony




Trial Tr. 665:21-25
66                                                                                  © 2025 DOAR
                                   Lies About
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                                          Document                 PlayPage 67 of 71
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       Defensive Play         Mason Young            Data            Fake Validation   ASL List




                                   Leslie Wims Morris Testimony




Trial Tr. 678:4-6
67                                                                                            © 2025 DOAR
                      JPMC        Wanted Document
                      Case 1:23-cr-00251-AKH To Beat
                                                  381-3 The     Competition
                                                         Filed 04/25/25 Page 68 of 71

     Defensive Play         Mason Young             Data            Fake Validation     ASL List




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68                                                                                             © 2025 DOAR
                             Final Deal Review:
                                         Document 381-3Defensive
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        Defensive Play         Mason Young           Data            Fake Validation   ASL List




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69                                                                                            © 2025 DOAR
                         Final    Deal Review:
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                                                  Document                    Advantage
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        Defensive Play           Mason Young             Data             Fake Validation       ASL List




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70                                                                                                     © 2025 DOAR
                                  Final Deal Review:
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                                          Document         Goodwill
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        Defensive Play         Mason Young            Data           Fake Validation    ASL List




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